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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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ERIC ALI,
Plaintiff, SECOND AMENDED
COMPLAINT IN CIVIL CASE
JURY TRIAL DEMANDED
-against-

COURT OFFICER T. ELEAZAR
RAMOS SHIELD NO. 7217. and COURT OFFICER
JOHN DOE 1,

Defendants.
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Plaintiff, ERIC ALI, by his attorney, ADRIAN A. ELLIS, LLC, alleges as follows:

1. This is a civil rights action brought by plaintiff Eric Ali (“Mr. Ali” or “Plaintiff’) for
damages pursuant to 42 U.S.C. § 1983. Whilst in the custody of the New York State
Office of Court Administration and detained at the New York County Supreme Court,
Criminal Term the defendants used excessive force against the plaintiff and showed
an evinced and depraved indifference to the safety, well-being and security of the
plaintiff.

JURISDICTION AND VENUE

2. This action arises under the Fourteenth Amendment to the United States Constitution

and 42 U.S.C. §§ 1983 and 1988.

3. The jurisdiction of this Court is predicated upon 28 U.S.C. §§ 1331 and 1343(a)(3-4).
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4. The acts complained of occurred in the Southern District of New York and venue is

properly vested in this Court pursuant to 28 U.S.C. § 1391(b).
PARTIES

5. Eric Ali is a resident of New York, New York but resided at Rikers Island at the time of
the incident.

6. At all relevant times, Correction Officer, T. Eleazar Ramos (hereinafter “Ramos” shield
number 7217 was an officer within the New York State Office of Court Administration and was
assigned to New York State Supreme Court, New York County, Criminal Term, acting in the
capacity of an agent, employee of New York State Office of Court Administration. These
actions were within the scope of his employment and as such he was acting under color of State
law. Defendant Ramos is sued in his individual capacity.

7. At all relevant times, Correction Officer, John Doe 1 (hereinafter “John Doe”) shield
number unknown was an officer within the New York State Office of Court Administration and
was assigned to New York State Supreme Court, New York County, Criminal Term, acting in
the capacity of an agent, employee of New York State Office of Court Administration. These
actions were within the scope of his employment and as such he was acting under color of State
law. Defendant John Doe is sued in his individual capacity.

8. At all times relevant to this lawsuit, Defendants acted under color of the laws of
the State of New York.

9. This action is brought pursuant to 42 U.S.C. §1983, which prohibits the violation, under
“color of state law” of rights secured by the Constitution and laws of the United States of

America.
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10. On July 21, 2015 the plaintiff appeared before the Honorable Judge Charles H. Solomon,
Supreme Court, New York County, Criminal Term on a pending criminal matter. After what
was a boisterous appearance where the plaintiff loudly voiced his concerns about his case and
how it was proceeding to Judge Solomon he was handcuffed by defendant Ramos and/or John
Doe who were acting in concert with each other. Ramos and/or John Doe handcuffed the
plaintiff unnecessarily and excessively tight in order to administer pain upon the plaintiff and
punish him for the aforementioned display in Court. Immediately the plaintiff protested the
extreme pain and discomfort that he was experiencing. The plaintiff's pleas were initially
ignored by the defendants.

11. However, as a result of the plaintiff ‘s continued protestations in regards to the pain and
discomfort being experienced; in addition to complaints of numbness and tingling in his left
wrist; coupled with visible swelling of the hand the defendants purportedly tried to remove the
handcuffs. In allegedly attempting to open the handcuffs the defendants broke the key in the
lock to the handcuff thereby extending the period of time that plaintiff was left in a state of
extreme discomfort whilst continued damage to his hand was occurring. After a significant
delay, whilst the defendant’s purportedly tried to devise a way to open the handcuffs, the New
York City Fire Department was called as a result of the direction of Judge Solomon. The New
York City Fire Department was ultimately successful in removing the handcuffs. However,
plaintiff was left with permanent injury and continues to suffer from loss of use of his hand as a
result of the actions of the defendants.

FIRST CLAIM FOR RELIEF PURSUANT TO 42 U.S.C §1983

12. Plaintiff repeats and realigns each and every allegation as if fully set forth herein.
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13. By reason of the foregoing and by intentionally handcuffing the plaintiff in a manner to
ensure an affliction of severe pain and discomfort and subsequently delaying the handcuffs
being removed, the defendants deprived plaintiff of his rights, privileges, protections and
immunities guaranteed to him pursuant to 42 U.S.C. § 1983, including but not limited to, rights
guaranteed by the Fourteenth Amendment to the United States Constitution to be free from
deliberate indifference to safety and medical needs.

14. Defendants acted under pretense and color of state law and in their individual and official
capacities and within the scope of their employment as court officers and employees of OCA.
Said acts by defendants were beyond the scope of their jurisdiction, without authority of law
and in abuse of their powers. These defendants acted willfully, knowingly and with the specific
intent to deprive plaintiff of his constitutional rights secured by 42 U.S.C. § 1983 and the
Fourteenth Amendment to the United States Constitution.

15. As a direct and proximate result of the misconduct and abuse of authority the plaintiff
sustained the damages hereinbefore alleged.

SECOND CLAIM FOR RELIEF PURSUANT TO 42 U.S.C §1983

16. Plaintiff repeats and realigns each and every allegation as if fully set forth herein.

17. The level of force employed by defendants was excessive, objectively unreasonable and
otherwise in violation of plaintiff Eric Ali’s constitutional rights.

18. As a result of the aforementioned conduct of defendants, plaintiff Eric Ali was subjected
to excessive force and sustained severe physical and emotional injuries.

19. As a direct and proximate result of the misconduct the plaintiff sustained the damages

hereinbefore alleged.
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THIRD CLAIM FOR RELIEF PURSUANT. TO 42 U.S.C § 1983

20. Plaintiff repeats and realigns each and every allegation as if fully set forth herein.

21. The individual defendants conspired for the purposes of directly depriving plaintiff of his
right to be free from deliberate indifference to his safety and medical needs pursuant to the
Fourteenth Amendment to the United States Constitution, and are liable to plaintiff under 42
U.S.C. § 1985.

22. Defendants formed agreements with each other to act in concert to inflict unconstitutional
injuries on plaintiff, namely to handcuff him excessively tight and then break the key in the lock
so as to extend the infliction of pain and discomfort on the plaintiff. The officers then delayed
obtaining the necessary help to have the handcuffs removed instead opting to purportedly
attempt to remove the handcuffs themselves with improper instrumentality. The officers acted
in furtherance of the goal of inflicting as much pain and discomfort as outlined herein to punish
the plaintiff for his verbal outburst in Court.

23. As a direct and proximate result of the misconduct and abuse of authority the plaintiff
sustained the damages hereinbefore alleged.

FOURTH CLAIM FOR RELIEF PURSUANT TO 42 U.S.C § 1983

24. Plaintiff repeats and realigns each and every allegation as if fully set forth herein.

25. Defendant John Doe had an affirmative duty to intervene on behalf of plaintiff Eric Ali,
whose constitutional rights were being violated in his presence by co- defendant.

26. Defendant John Doe failed to intervene to prevent the unlawful conduct described herein.

27. As a direct and proximate result of the misconduct and abuse of authority the plaintiff

sustained the damages hereinbefore alleged.
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PRAYERS FOR RELIEF

WHEREFORE, plaintiff respectfully requests judgment against defendants as follows:
(a) Compensatory damages against all the defendants jointly and severally;
(b) Punitive damages against the individual Defendants, jointly and severally;
(c) Reasonable attorney’s fees and costs pursuant to 28 U.S.C. § 1988; and

(d) Such other and further relief as this Court deems just and proper.

Dated: Brooklyn, New York
March 24, 2017

 

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